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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

UNITED STATES OF AMERICA,
Petitioner,

Vv. CIVIL ACTION NO. A-21-CV-693-

REAL PROPERTY LOCATED AND,
SITUATED AT 24602 GLASS CANYON,

SAN ANTONIO, BEXAR COUNTY,
TEXAS,

LP LN LP QP? LQ? LP 7 Lr 7 MN

Respondent.
UNITED STATES OF AMERICA’S MOTION TO STAY CIVIL PROCEEDINGS

Comes now Petitioner United States of America, by and through the United States Attorney
for the Western District of Texas and the undersigned Assistant United States Attorney and moves
this Court to enter an Order staying the instant civil forfeiture proceedings.

The United States requests the Court stay the instant civil forfeiture proceedings, pursuant
to Title 18 U.S.C. § 981(g)(1), until the conclusion of the related criminal investigation and
forthcoming criminal prosecution. Section 981(g)(1) provides the following:

Upon the motion of the United States, the court shall stay the civil forfeiture proceeding if
the court determines that civil discovery will adversely affect the ability of the Government
to conduct a related criminal investigation or the prosecution of a related criminal case.

The United States advises the Court that the facts detailed in the Verified Complaint for
Forfeiture are the same facts and circumstances which gave rise to the related criminal
investigation and eventual criminal prosecution.

Accordingly, the United States respectfully requests that this Court grant this Motion and

stay the instant civil forfeiture proceedings.
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By

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Respectfully submitted,

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“Ad Attorney

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UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA, §
Petitioner, §
§

v. § CIVIL ACTION NO. A-21-CV-693-
§
REAL PROPERTY LOCATED AND, §
SITUATED AT 24602 GLASS CANYON, §
SAN ANTONIO, BEXAR COUNTY, §
TEXAS, §
Respondent. §

ORDER TO STAY CASE

 

The Court has considered the United States of America’s Motion to Stay Civil Proceedings
pursuant to Title 18 U.S.C. § 981(g)(1). This court being fully and wholly apprised in all its
premises, finds that said Motion is meritorious and should be, and hereby is, in all things
GRANTED. IT IS THEREFORE

ORDERED that all proceedings applicable to all parties in the instant civil forfeiture case
are STAYED pending the conclusion of the related criminal investigation and prosecution.

IT IS SO ORDERED.

SIGNED this the day of , 2021.

 

UNITED STATES DISTRICT JUDGE
